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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOHN DOE                                     §
                                             §
                 Plaintiff,                  §
                                             §
v.                                           § CIVIL ACTION NO. 20-4332
                                             §
TEXAS A&M UNIVERSITY,                        §
MR. JOHN JUNKINS,                            §
(in his official capacity as Interim         §
President)                                   §
                Defendants.                  §

                      PLAINTIFF JOHN DOE’S
     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE AGAINST
      DEFENDANTS TEXAS A&M UNIVERSITY AND MR. JOHN JUNKINS

       Plaintiff John Doe files this notice of voluntary dismissal, without prejudice, of all

claims against Defendants Texas A&M University and Mr. John Junkins.

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), this notice constitutes

effective dismissal of Doe’s claims against Defendants, because this notice is filed before

Defendants filed a responsive pleading to Doe’s Complaint or amended complaint. See

Yesh Music v. Lakewood Church, 727 F.3d 356, 359 (5th Cir. 2013) (“Rule 41a(1) on its

face grants a plaintiff an unconditional right to dismiss his complaint by notice and without

order of the court at any time prior to the defendant’s service of an answer or motion for

summary judgment.”) (emphasis added).

       Plaintiff Doe accordingly requests the Court take notice of his dismissal of all

claims, without prejudice, against Defendants Texas A&M and Mr. John Junkins.




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 Dated: January 29, 2021
                               Respectfully submitted,

                               JONES WALKER LLP

                               /s/ Dan L. Cogdell
                               DAN L. COGDELL—Attorney in Charge
                               Texas Bar No. 04501500
                               Email: dcogdell@joneswalker.com
                               NICHOLAS H. NORRIS
                               Texas Bar No. 24090810
                               Email: nnorris@joneswalker.com
                               811 Main Street, Suite 2900
                               Houston, TX 77002
                               Tel (713) 437-1869
                               Fax (713) 437-1810
                               AVERY B. PARDEE
                               La. Bar No. 31280—admitted pro hac vice
                               Email: apardee@joneswalker.com
                               201 St. Charles Avenue
                               New Orleans, LA 70170
                               Tel (504) 582-8358
                               Fax (504) 582-8358

                               - and –

                               SERGI AND ASSOCIATES, P.C.
                               /s/ David K. Sergi
                               DAVID K. SERGI
                               Texas Bar No. 18036000
                               Federal Bar No. 755
                               Email: david@sergilaw.com
                               KATHERINE FRANK
                               Texas Bar No. 24105630
                               Email: katie@sergilaw.com
                               329 S. Guadalupe St.
                               San Marcos, TX 78666
                               Tel. (512) 392-5010
                               Fax. (512) 392-5042

                               Counsel for Plaintiff John Doe




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                             CERTIFICATE OF SERVICE


        I certify that on January 29, 2021, I electronically filed this motion with the Clerk

of the Court using the CM/ECF system, which will provide notification of the filing to

counsel for all parties.


                                           /s/ Dan Cogdell ______________________
                                           Dan Cogdell




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